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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 CHARLES GRESHAM, et al.,                           )
                                                    )
                Plaintiffs,                         )
                                                    )
        v.                                          )
                                                    )
 ALEX M. AZAR II, et al.,                           ) No. 1:18-cv-01900-JEB
                                                    )
                Defendants.                         )
                                                    )
 STATE OF ARKANSAS                                  )
                                                    )
               Defendant-Intervenor                 )



                                       [PROPOSED] ORDER

    For the reasons stated in the accompanying Memorandum Opinion, it is hereby

    ORDERED that the Defendants’ Motion for Summary Judgment be DENIED. It is further

    ORDERED that the Plaintiffs’ Motion for Summary Judgment on their Administrative

Procedure Act claims be GRANTED. It is further

    ORDERED that the Secretary of the Department of Health and Human Services’ approval of

the Arkansas Works Amendment is vacated. It is further

    ORDERED that the Centers for Medicare & Medicaid Services’ January 11, 2018 letter to

State Medicaid Directors is vacated.

    IT IS SO ORDERED.



Date:_____________________                        ________________________________
                                                  James E. Boasberg
                                                  UNITED STATES DISTRICT JUDGE
